
PER CURIAM.
We have carefully reviewed the voluminous record and considered each of the several points on appeal, facilitated by the excellence of appellate briefs and argument. As to each of appellant’s points we conclude either that no error exists or, where error is made to appear, that it was harmless, with the exception of that part of the sentence which imposed a fine “jointly and severally” upon several individuals. Appellant could have been fined a sum not in excess of $10,000 under Section 775.-082(3)(c), Florida Statutes (1981). We vacate the present fine and remand for imposition of an appropriate fine which shall not be joint and several.
Accordingly, we affirm in part and reverse in part and remand.
Upon remand, the imposition of an appropriate fine is a sentencing under the provisions of Section 775.083 Florida Statutes (1981), and Caruso at such time is entitled to the sentencing rights articulated in State v. Scott,-So.2d-(Fla.1983, Case No. 63,146, opinion filed October 6, 1983) [8 FLW 401].
*948HERSEY, GLICKSTEIN and WALDEN, JJ., concur.
